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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CHARLENE CARTER,                              §
                                              §
                                              §
         Plaintiff,                           §        Civil Action No. 03:17-cv-02278-S
v.                                            §
                                              §
SOUTHWEST AIRLINES CO., AND                   §
TRANSPORT WORKERS UNION                       §
OF AMERICA LOCAL 556,                         §
                                              §
         Local 556s.                          §


                   PLAINTIFF’S UNOPPOSED MOTION TO
     EXTEND DEADLINE FOR COMPLIANCE WITH THE MAGISTRATE’S ORDER

TO THE HONORABLE JUDGE OF SAID COURT:

         Defendant Transport Workers Union of America Local 556 (“Defendant” or “TWU Local

556”), by and through their undersigned counsel, requests that the Court grant a one “working day”

extension to comply with the Discovery Order of the U.S. Magistrate Judge (Doc. 99), extending

the deadline from July 31, 2020 to August 3, 2020. In support of this motion, Defendant states as

follows:

1.       On June 23, 2020, United States Magistrate Judge Rebecca Rutherford issued her

         Discovery Order (Doc. 99) requiring (1) Defendant to produce documents for in camera

         review pertaining to a dispute over Defendant’s assertions of the work product privilege;

         and (2) Defendant produce an amended privilege log to Plaintiff. Plaintiff now seeks an

         extension of their Friday July 31, 2020 deadline to Monday August 3, 2020.

2.       Defendants counsel conferred via phone and email with Plaintiff’s counsel, Matthew

         Gilliam, who is unopposed to the extension.



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3.       Documents needed to comply with the Order reside at Defendant’s attorneys’ law offices.

         Defendant’s attorneys’ law office is a shared working space that has been functionally

         closed since the middle of March, 2020. Upon arriving at the office this morning, counsel

         for Defendant encountered several maintenance men working in the common spaces of the

         building without state mandated safety precautions. The workers were not wearing masks

         or gloves. Due to familial health concerns, specifically an infant and immune compromised

         elderly individual within his household, counsel did not feel comfortable entering the

         building. Counsel also does not have authority to remove the maintenance workers from

         the premises as it is a shared working space and not owned by counsel.

4.       The following demonstrates there is good cause to grant the extension. This motion is not

         filed for the purpose of delay, but so that justice and safety may be done.

5.       For the foregoing reasons, the Parties require and request additional time to comply with

         the Magistrate’s Order.



Respectfully submitted,                                Date: July 31, 2020

                                                        /s/ Adam S.Greenfield

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                                                     COUNSELS FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

      I undersigned hereby certifies that on July 31, 2020, a true and correct copy of the foregoing
document was served via the ECF notification on Defendant’s counsel of record.


                                                     /s/ Adam S. Greenfield
                                                     Adam S. Greenfield


                             CERTIFICATE OF CONFERENCE

       Defendant’s counsel, Adam S. Greenfield, conferred via email with Plaintiff’s counsel,
Matthew Gilliam, on July 31, 2020. Mr. Gilliam expressed that Defendants did not oppose the
motion.

                                                     /s/ Adam S. Greenfield
                                                     Adam S. Greenfield




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